403 F.2d 52
    UNITED STATES of America, Plaintiff and Appellee,v.Ronald Lee MEYER, Defendant and Appellant.
    No. 22358A.
    United States Court of Appeals Ninth Circuit.
    October 15, 1968.
    
      Becker &amp; Moore, (for Meyer), West Covina, Cal., Stephen Adams (for Campbell), San Francisco, Cal., for appellant.
      Sidney I. Lezak, U. S. Atty., Charles H. Turner, Asst. U. S. Atty., Portland, Ore., for appellee.
      Before CHAMBERS, HAMLEY and MERRILL, Circuit Judges.
      PER CURIAM:
    
    
      1
      In this Dyer Act conviction we hold it was not error to permit one F.B.I. agent to sit at the government table during the trial although he was a witness. The instruction given on guilty knowledge was as good as the one submitted by the defendant, and it was adequate. The trial judge was a little impatient at one point, but the jury was adequately instructed on the point.
    
    
      2
      Other objections here were not properly made or preserved in the trial court, but we find them without merit.
    
    
      3
      Judgment affirmed.
    
    